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                         FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          ADREE EDMO, AKA Mason Edmo,           No. 19-35017
                        Plaintiff-Appellee,
                                                  D.C. No.
                          v.                   1:17-cv-00151-
                                                    BLW
          CORIZON, INC.; SCOTT ELIASON;
          MURRAY YOUNG; CATHERINE
          WHINNERY,
                      Defendants-Appellants,

                         and

          IDAHO DEPARTMENT OF
          CORRECTIONS; HENRY ATENCIO;
          JEFF ZUMDA; HOWARD KEITH
          YORDY; AL RAMIREZ, Warden;
          RICHARD CRAIG; RONA SIEGERT,
                               Defendants.
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          ADREE EDMO, AKA Mason Edmo,                      No. 19-35019
                        Plaintiff-Appellee,
                                                             D.C. No.
                              v.                          1:17-cv-00151-
                                                               BLW
          IDAHO DEPARTMENT OF
          CORRECTIONS; HENRY ATENCIO;
          JEFF ZUMDA; HOWARD KEITH                            ORDER
          YORDY; AL RAMIREZ, Warden;
          RICHARD CRAIG; RONA SIEGERT,
                      Defendants-Appellants,

                             and

          CORIZON, INC.; SCOTT ELIASON;
          MURRAY YOUNG; CATHERINE
          WHINNERY,
                                 Defendants.

                             Filed February 10, 2020

             Before: M. Margaret McKeown and Ronald M. Gould,
              Circuit Judges, and Robert S. Lasnik, * District Judge.

                                     Order;
                        Statement by Judge O’Scannlain;
                            Dissent by Judge Collins;
                           Dissent by Judge Bumatay




              *
              The Honorable Robert S. Lasnik, United States District Judge for
         the Western District of Washington, sitting by designation.
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                                   SUMMARY **


                               Prisoner Civil Rights

             The panel denied a petition for panel rehearing and
         denied a petition for rehearing en banc on behalf of the court,
         in a case in which the panel affirmed the district court’s entry
         of a permanent injunction in favor of an Idaho state prisoner,
         but vacated the injunction to the extent it applied to certain
         defendants in their individual capacities, in the prisoner’s
         action seeking medical treatment for gender dysphoria.

             Respecting the denial of rehearing en banc, Judge
         O’Scannlain, joined by Judges Callahan, Bea, Ikuta,
         R. Nelson, Bade, Bress, Bumatay and VanDyke, stated that
         with its decision not to rehear this case en banc, this court
         became the first federal court of appeals to mandate that a
         State pay for and provide sex-reassignment surgery to a
         prisoner under the Eighth Amendment. Judge O’Scannlain
         stated that the three-judge panel’s conclusion—that any
         alternative course of treatment would be “cruel and unusual
         punishment”—is as unjustified as it is unprecedented. To
         reach such a conclusion, the court created a circuit split,
         substituted the medical conclusions of federal judges for the
         clinical judgments of prisoners’ treating physicians,
         redefined the familiar “deliberate indifference” standard,
         and, in the end, constitutionally enshrined precise and
         partisan treatment criteria in what is a new, rapidly changing,
         and highly controversial area of medical practice.



             **
                This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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             Dissenting from the denial of rehearing en banc, Judge
         Collins stated that whether the defendant doctor was
         negligent or not (a question on which Judge Collins
         expressed no opinion), his treatment decisions did not
         amount to “cruel and unusual punishment,” and the court
         thus strayed far from any proper understanding of the Eighth
         Amendment.

             Dissenting from the denial of rehearing en banc, Judge
         Bumatay, joined by Judges Callahan, Ikuta, R. Nelson, Bade
         and VanDyke, and by Judge Collins as to Part II, stated that
         by judicially mandating an innovative and evolving standard
         of care, the panel effectively constitutionalized a set of
         guidelines subject to ongoing debate and inaugurated yet
         another circuit split. And by diluting the requisite state of
         mind from “deliberate indifference” to negligence, the panel
         effectively held that—contrary to Supreme Court
         precedent—medical malpractice does become a
         constitutional violation merely because the victim is a
         prisoner.
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                                         ORDER

             The full court was advised of the petition for rehearing
         en banc. A judge requested a vote on whether to rehear the
         matter en banc. The matter failed to receive a majority of
         the votes of nonrecused active judges in favor of en banc
         consideration. Fed R. App. P. 35.

            The petition for rehearing en banc is DENIED. An
         opinion respecting denial of rehearing en banc, prepared by
         Judge O’Scannlain, and dissents from denial of rehearing en
         banc prepared by Judge Collins and Judge Bumatay are filed
         concurrently with this order.



         O’SCANNLAIN, Circuit Judge, * with whom CALLAHAN,
         BEA, IKUTA, R. NELSON, BADE, BRESS, BUMATAY,
         and VANDYKE, Circuit Judges, join, respecting the denial
         of rehearing en banc:

             With its decision today, our court becomes the first
         federal court of appeals to mandate that a State pay for and
         provide sex-reassignment surgery to a prisoner under the
         Eighth Amendment. The three-judge panel’s conclusion—
         that any alternative course of treatment would be “cruel and
         unusual punishment”—is as unjustified as it is
         unprecedented. To reach such a conclusion, the court creates
         a circuit split, substitutes the medical conclusions of federal

              *
                As a judge of this court in senior status, I no longer have the power
         to vote on calls for rehearing cases en banc or formally to join a dissent
         from failure to rehear en banc. See 28 U.S.C. § 46(c); Fed. R. App. P.
         35(a). Following our court’s general orders, however, I may participate
         in discussions of en banc proceedings. See Ninth Circuit General Order
         5.5(a).
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         judges for the clinical judgments of prisoners’ treating
         physicians, redefines the familiar “deliberate indifference”
         standard, and, in the end, constitutionally enshrines precise
         and partisan treatment criteria in what is a new, rapidly
         changing, and highly controversial area of medical practice.

            Respectfully, I believe our court’s unprecedented
         decision deserved reconsideration en banc.

                                          I

                                         A

             In 2012, Adree Edmo (then known as Mason Dean
         Edmo) was incarcerated for sexually assaulting a sleeping
         15-year-old boy. By all accounts, Edmo is afflicted with
         profound and complex mental illness. She 1 suffers from
         major depressive disorder, anxiety, alcohol addiction, and
         drug addiction. At least two clinicians have concluded that
         she shares the traits of borderline personality disorder. She
         abused alcohol and methamphetamines every day for many
         years, stopping only upon her incarceration. A victim of
         sexual abuse at an early age, she attempted suicide three
         times before her arrest for sexual assault—twice by overdose
         and once by cutting.

             A new diagnosis was added in 2012: gender dysphoria.
         Two months after being transferred to the Idaho State
         Correctional Institution (a men’s prison), Edmo sought to
         speak about hormone therapy with Dr. Scott Eliason, the
         Board-certified director of psychiatry for Corizon, Inc. (the
         prison’s medical care provider). In Dr. Eliason’s view,
             1
               Though Edmo was born a male, Edmo has legally changed the sex
         listed on her birth certificate to female. I therefore use feminine
         pronouns throughout, just as the panel does.
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         Edmo met the criteria for gender dysphoria. 2 After the
         diagnosis was confirmed by another forensic psychiatrist
         and the prison’s Management and Treatment Committee,
         Edmo was prescribed hormone therapy. She soon changed
         her legal name and the sex listed on her birth certificate. As
         a result of four years of hormone therapy, Edmo experienced
         physical changes, including breast development,
         redistribution of body fat, and a change in body odor. She
         now has the same circulating hormones as a typical adult
         female.

             In April 2016, at Edmo’s request, Dr. Eliason evaluated
         her for sex-reassignment surgery. 3 Ultimately, Dr. Eliason
         decided to maintain the current course of hormones and
         supportive counseling instead of prescribing surgery. He
         staffed Edmo’s case with Dr. Jeremy Stoddart (a
         psychiatrist) and Dr. Murray Young (a physician who served
         as the Regional Medical Director for Corizon), as well as
         Jeremy Clark, a clinical supervisor and member of the World
         Professional Association for Transgender Health
         (“WPATH”). He also presented the evaluation and vetted it


              2
                Gender dysphoria is a diagnosis introduced in the latest, fifth
         edition of the American Psychiatric Association’s Diagnostic and
         Statistical Manual of Mental Disorders. It replaces the now-obsolete
         “gender identity disorder” used in the previous edition. The gender
         dysphoric patient experiences “clinically significant distress or
         impairment in social, occupational, or other important areas of
         functioning” that is associated with the feeling of incongruence between
         perceived gender identity and phenotypic sex. See Am. Psychiatric
         Ass’n, Diagnostic and Statistical Manual of Mental Disorders 453 (5th
         ed. 2013).
             3
               The panel adopts the question-begging term “gender confirmation
         surgery,” which is preferred by Edmo and her lawyers. I will continue
         to use the neutral “sex-reassignment surgery.”
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         before the regular meeting of the multidisciplinary
         Management Treatment Committee.

             Dr. Eliason, supported by Dr. Stoddart, Dr. Young, and
         Clark, opted not to recommend sex-reassignment surgery for
         several reasons, some of which are described in his chart
         notes and others of which were elaborated in their testimony.
         First, Dr. Eliason noted that Edmo reported that the hormone
         therapy had improved her dysphoria and Eliason “did not
         observe significant dysphoria.” In the absence of more
         severe distress, Dr. Eliason could not justify the risks of
         pursuing the most aggressive—and permanent—treatment
         through surgery. Second, Dr. Eliason observed that Edmo’s
         comorbid conditions—major depressive disorder and
         alcohol use disorder, among others—were not adequately
         controlled. Edmo had refused to attend therapy consistently
         in prison. She also engaged in self harm (including cutting
         and attempted castration) and exhibited co-dependency and
         persistently poor sexual boundaries with other prisoners. In
         Dr. Eliason’s view, Edmo’s other mental health disorders
         were not sufficiently stabilized to handle the stressful
         process of surgery and transition. Finally, Dr. Eliason
         observed that Edmo—who was parole-eligible and due to be
         released in 2021—had not lived among her out-of-prison
         social network as a woman. He noted the high suicide rates
         for postoperative patients and was concerned that Edmo
         might be at greater risk of suicide given the potential lack of
         support from family, friends, coworkers, and neighbors
         during her transition. Dr. Eliason did not rule out the
         possibility of Edmo receiving sex-reassignment surgery at
         some later point. As Dr. Eliason put it in his notes on his
         consultation with Edmo, “Medical Necessity for Sexual
         Reassignment Surgery is not very well defined and is
         constantly shifting.” Citing the changing nature of the
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         science and the contingent nature of his evaluation of Edmo,
         his recommendations were merely “for the time being.”

                                       B

             About a year after her evaluation, Edmo filed this § 1983
         lawsuit against Dr. Eliason, the Idaho Department of
         Corrections, Corizon, and several other individuals, alleging
         that the prison doctors’ treatment choice violated her right to
         be free from cruel and unusual punishment under the Eighth
         and Fourteenth Amendments. She then moved for a
         preliminary injunction to require the prison to provide her
         with sex-reassignment surgery.

             The district court held an evidentiary hearing on the
         motion. At the outset of the hearing, the court commented
         that it was hard “to envision” how a request to mandate sex-
         reassignment surgery could be granted through anything
         other than a permanent injunction. Nonetheless, the district
         court evaluated Edmo’s motion under the preliminary
         injunction standard and, only out of “an abundance of
         caution,” provided a footnote evaluating whether an
         injunction was merited under the more demanding standard
         for a permanent injunction (which the court erroneously
         described as “no more rigorous than that applicable to a
         claim for preliminary mandatory relief”). Edmo v. Idaho
         Dep’t of Corr., 358 F. Supp. 3d 1103, 1122 n.1 (D. Idaho
         2018); see Edmo v. Corizon, Inc., 935 F.3d 757, 784 n.13
         (9th Cir. 2019) (“[T]he standard for granting permanent
         injunctive relief is higher (in that it requires actual success
         on the merits) . . . .”).

             In addition to testimony from Edmo, Dr. Eliason, and
         Jeremy Clark, the evidentiary hearing featured testimony
         from four expert witnesses. Edmo presented Dr. Randi
         Ettner, a psychologist, and Dr. Ryan Gorton, an emergency
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          room physician. Dr. Ettner is one of the authors of the World
          Professional Association of Transgender Health’s Standards
          of Care for the Health of Transsexual, Transgender, and
          Gender Nonconforming People and chairs WPATH’s
          Committee for Institutionalized Persons. Dr. Gorton serves
          on that committee too. WPATH—formerly the Harry
          Benjamin International Gender Dysphoria Association—
          describes itself as a “professional association” devoted “to
          developing best practices and supportive policies worldwide
          that promote health, research, education, respect, dignity,
          and equality for transsexual, transgender, and gender
          nonconforming people in all cultural settings.” World Prof’l
          Ass’n for Transgender Health, Standards of Care for the
          Health of Transsexual, Transgender, and Gender-
          Nonconforming People 1 (7th ed. 2011) (“WPATH
          Standards”). One of WPATH’s central functions is to
          promulgate Standards of Care, which offer minimalist
          treatment criteria for several possible approaches to gender
          dysphoria, from puberty-blocking hormones to sex-
          reassignment surgery.

              In addition to Dr. Eliason and Mr. Clark, the State
          presented Dr. Keelin Garvey, the Chief Psychiatrist of the
          Massachusetts Department of Corrections and chair of its
          Gender Dysphoria Treatment Committee, and Dr. Joel
          Andrade, a clinical social worker who served as clinical
          director for the Massachusetts Department of Corrections
          and served on its Gender Dysphoria Treatment Committee.
          Each set of experts had gaps in their relevant experience.
          Edmo’s experts had never treated inmates with gender
          dysphoria, while the State’s experts had never conducted
          long-term follow-up care with a patient who had undergone
          sex-reassignment surgery.
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              Edmo’s experts testified that, in their opinion, Edmo
          needs sex-reassignment surgery.        They based their
          conclusion on the latest edition of WPATH Standards of
          Care, which contain six criteria for sex-reassignment
          surgery:

             (1) “persistent, well documented gender dysphoria,”

             (2) “capacity to make a fully informed decision and to
                 consent for treatment,”

             (3) “age of majority,”

             (4) “if significant medical or mental health concerns are
                 present, they must be well controlled,”

             (5) “12 continuous months of hormone therapy as
                 appropriate to the patient’s gender goals,”

             (6) “12 continuous months of living in a gender role that
                 is congruent with their gender identity.”

          Id. at 60. In the opinion of Edmo’s experts, Edmo met all
          six criteria and was unlikely to show further improvement in
          her gender dysphoria without such surgery.

              The State’s experts disagreed on three main grounds.
          First, they did not regard the WPATH Standards as definitive
          treatment criteria, let alone medical consensus. In their
          analysis, the evidence underlying the WPATH Standards is
          not sufficiently well developed, particularly when it comes
          to the treatment of gender dysphoric prisoners. Therefore,
          they opined that a prudent, competent doctor might rely on
          clinical judgment that differs from the (already ambiguous)
          WPATH Standards. Second, the State’s experts testified
          that, even under WPATH, Edmo failed to meet the fourth
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          criterion for surgery, which requires that the patient’s other
          mental health concerns be well controlled in order to reduce
          the risks associated with transitioning. In the view of the
          State’s experts, her mental health raised the concern that she
          would have trouble transitioning. For their part, Edmo’s
          experts argued that Edmo’s depression and addiction were
          controlled enough for surgery and that some current
          symptoms (such as self-cutting) stem from her gender
          dysphoria and therefore can be alleviated with surgery.
          Finally, the State’s experts testified that Edmo also failed to
          meet the WPATH Standards’ sixth criterion for surgery,
          which requires that Edmo live as a woman for twelve months
          before surgery. In their view, it was essential that Edmo live
          those twelve months outside of prison—that is, within her
          social network—in order to be adequately sure that she and
          her social network are ready for the challenges posed by
          transitioning.    Edmo’s experts disagreed, noting that
          WPATH says treatment in prisons should “mirror” treatment
          outside of prisons.

                                        C

              Although this appeal is from a grant of a preliminary
          injunction, at some point the evidentiary hearing on the
          motion for a preliminary injunction was consolidated into a
          final bench trial on the merits. It is hard to know when (or
          if) the parties were given the requisite “clear and
          unambiguous notice” of consolidation. See Isaacson v.
          Horne, 716 F.3d 1213, 1220 (9th Cir. 2013); see also Univ.
          of Tex. v. Camenisch, 451 U.S. 390, 395 (1981).

              The district court applied the Supreme Court’s oft-cited
          rule that “deliberate indifference to serious medical needs of
          prisoners constitutes the ‘unnecessary and wanton infliction
          of pain’ proscribed by the Eighth Amendment.” Estelle v.
          Gamble, 429 U.S. 97, 104 (1976) (quoting Gregg v.
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          Georgia, 428 U.S. 153, 173 (1976)). The State agreed that
          gender dysphoria is a serious medical need, so the only
          question on the merits is whether Dr. Eliason and his team
          were “deliberately indifferent” as a matter of law.

              The district court concluded that the State’s experts were
          “unconvincing” and gave their opinions “virtually no
          weight.” Edmo, 358 F. Supp. 3d at 1125–26. Once such
          expert testimony was set aside, the district court held that
          any decision not to prescribe sex-reassignment surgery
          would be “medically unacceptable under the circumstances”
          and would therefore violate the Eighth Amendment. Id.
          at 1127. Accordingly, the district court entered an injunction
          ordering the State to “take all actions reasonably necessary
          to provide Ms. Edmo gender confirmation surgery as
          promptly as possible.” Id. at 1129.

                                        D

              The panel has now affirmed the injunction. See Edmo,
          935 F.3d at 803. Concluding that sex-reassignment surgery
          was “medically necessary” and that the prison officials chose
          a different course of treatment “with full awareness of the
          prisoner’s suffering,” the panel holds that Dr. Eliason and
          the other prison officials “violate[d] the Eighth
          Amendment’s prohibition on cruel and unusual
          punishment.” Id.

              To reach its conclusion that sex-reassignment surgery
          was medically necessary, the panel spends most of its
          lengthy opinion extolling and explaining the WPATH
          Standards of Care. Because Dr. Eliason failed to “follow”
          or “reasonably deviate from” the WPATH Standards, the
          panel concluded that his treatment choice was “medically
          unacceptable under the circumstances.” Id. at 792. To reach
          the ultimate conclusion—that Dr. Eliason had a deliberately
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          indifferent state of mind and was consequently in violation
          of the Eighth Amendment—the panel posited that
          Dr. Eliason’s awareness of the risks that Edmo would
          attempt to castrate herself or feel “clinically significant”
          distress “demonstrates that Dr. Eliason acted with deliberate
          indifference.” Id. at 793. Each conclusion was legal error.

                                        II

              “Deliberate indifference is a high legal standard.”
          Toguchi v. Chung, 391 F.3d 1051, 1060 (9th Cir. 2004). It
          is, after all, under governing precedent one form of the
          “unnecessary and wanton infliction of pain” that is the sine
          qua non of an Eighth Amendment violation. Estelle,
          429 U.S. at 104 (quoting Gregg v. Georgia, 428 U.S. 153,
          173 (1976)).       Simply put, Edmo must prove that
          Dr. Eliason’s chosen course of treatment was the doing of a
          criminally reckless—or worse—state of mind. Farmer v.
          Brennan, 511 U.S. 825, 839 (1994).

              We have stated that a deliberately indifferent state of
          mind may be inferred when “the course of treatment the
          doctors chose was medically unacceptable under the
          circumstances” and “they chose this course in conscious
          disregard of an excessive risk to plaintiff’s health.” Jackson
          v. McIntosh, 90 F.3d 330, 332 (9th Cir. 1996). Yet even
          most objectively unreasonable medical care is not
          deliberately indifferent.          “[M]ere ‘indifference,’
          ‘negligence,’ or ‘medical malpractice’” is not enough to
          constitute deliberate indifference. Lemire v. Cal. Dep’t of
          Corr. & Rehab., 726 F.3d 1062, 1082 (9th Cir. 2013)
          (quoting Broughton v. Cutter Labs., 622 F.2d 458, 460 (9th
          Cir. 1980)). “Even gross negligence is insufficient to
          establish deliberate indifference . . . .” Id. Likewise, “[a]
          difference of opinion between a physician and the prisoner—
          or between medical professionals—concerning what
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          medical care is appropriate does not amount to deliberate
          indifference.” Snow v. McDaniel, 681 F.3d 978, 987 (9th
          Cir. 2012) (citing Sanchez v. Vild, 891 F.2d 240, 242 (9th
          Cir. 1989)), overruled on other grounds by Peralta v.
          Dillard, 744 F.3d 1076, 1083 (9th Cir. 2014) (en banc).
          Although the panel organizes its opinion according to the
          dictum we first articulated in Jackson, it so contorts the
          standard as to render deliberate indifference exactly what we
          have said it is not: a constitutional prohibition on good-faith
          disagreement between medical professionals.

                                        A

              The panel first, and fundamentally, errs by
          misunderstanding what it means for a chosen treatment to be
          medically “unacceptable” for purposes of the Eighth
          Amendment. As did the district court, the panel concludes
          that the decision to continue hormone treatment and
          counseling instead of sex-reassignment surgery for Edmo
          was “medically unacceptable under the circumstances”
          because, in short, Dr. Eliason failed to “follow” or
          “reasonably deviate from” the WPATH Standards of Care.
          Edmo, 935 F.3d at 792. Yet such an approach to the Eighth
          Amendment suffers from three essential errors. First,
          contrary to the panel’s suggestion, constitutionally
          acceptable medical care is not defined by the standards of
          one organization. Second, the panel relies on standards that
          were promulgated by a controversial self-described
          advocacy group that dresses ideological commitments as
          evidence-based conclusions. Third, once the WPATH
          Standards are put in proper perspective, we are left with a
          “case of dueling experts,” compelling the conclusion that Dr.
          Eliason’s treatment choice was indeed medically acceptable.
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                                          1

              A mere professional association simply cannot define
          what qualifies as constitutionally acceptable treatment of
          prisoners with gender dysphoria. In Bell v. Wolfish, 441 U.S.
          520 (1979), the Supreme Court rejected the argument that
          prison conditions must reflect those set forth in the American
          Public Health Association’s Standards for Health Services in
          Correctional Institutions, the American Correctional
          Association’s Manual of Standards for Adult Correctional
          Institutions, or the National Sheriffs’ Association’s
          Handbook on Jail Architecture. Id. at 543 n.27. According
          to the Court, “the recommendations of these various groups
          may be instructive in certain cases, [but] they simply do not
          establish the constitutional minima.” Id. After all, even
          acclaimed, leading treatment criteria only represent the
          “goals recommended by the organization in question” and
          the views of the promulgating physicians, 4 and so, without
          more, a physician’s disagreement with such criteria is simply
          the “‘difference of medical opinion’ . . . [that is] insufficient,
          as a matter of law, to establish deliberate indifference.” Id.;
          Jackson, 90 F.3d at 332 (quoting Sanchez, 891 F.2d at 242);
          accord Snow, 681 F.3d at 987; see also Long v. Nix, 86 F.3d
          761, 765 (8th Cir. 1996) (“[N]othing in the Eighth
          Amendment prevents prison doctors from exercising their
          independent medical judgment.”).

              In its discussion of the role of treatment standards, the
          panel fails to cite a single case in which a professional
          organization’s standards of care defined the line between
          medically acceptable and unacceptable treatment. Instead,
          the panel cites two cases, one from the Seventh Circuit and

               4
               Although, as we will see, only half of the committee that
          promulgates the WPATH Standards are physicians.
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          one from the Eighth, for the proposition that professional
          organizations’ standards of care are “highly relevant in
          determining what care is medically acceptable and
          unacceptable.” Edmo, 935 F.3d at 786 (emphasis added).
          That may be. But as those two cases demonstrate, the range
          of medically acceptable care is defined by qualities of that
          care (or of its opposite) and not by professional associations.
          Medically unacceptable care is “grossly incompetent or
          inadequate care,” Allard v. Baldwin, 779 F.3d 768, 772 (8th
          Cir. 2015), or care that constitutes “such a substantial
          departure from accepted professional judgment to
          demonstrate that the person responsible did not base the
          decision on . . . [accepted professional] judgment,”
          Henderson v. Ghosh, 755 F.3d 559, 566 (7th Cir. 2014)
          (original parenthetical) (quoting McGee v. Adams, 721 F.3d
          474, 481 (7th Cir. 2013) (stipulating that “medical
          professionals . . . are ‘entitled to deference in treatment
          decisions unless no minimally competent professional
          would have so responded’”)). For its part, the First Circuit
          holds in its own sex-reassignment-surgery case that medical
          care does not violate the Eighth Amendment so long as it is
          “reasonably commensurate with the medical standards of
          prudent professionals.” Kosilek v. Spencer, 774 F.3d 63, 90
          (1st Cir. 2014) (en banc). The panel is alone in its insistence
          that a professional association’s standards add up to the
          constitutional minima. 5



              5
                Far from countering such assertions, the panel’s concession that
          “deviation from [WPATH] standards does not alone establish an Eighth
          Amendment claim” is just a truism that recognizes that the Eighth
          Amendment also contains a subjective element. Edmo, 935 F.3d at 789.
          Moreover, such a statement serves simply to repeat the panel’s faulty
          premise that the WPATH Standards are the appropriate reference point
          in any analysis of medical acceptability.
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               In the words of the panel, speaking for our court, the
          WPATH Standards are “the gold standard,” the “established
          standards” for evaluations of the necessity of sex-
          reassignment surgery, the “undisputed starting point in
          determining the appropriate treatment for gender dysphoric
          individuals.” Edmo, 935 F.3d at 787–88, 788 n.16. But such
          overwrought acclaim is just the beginning of the panel’s
          thorough enshrinement of the WPATH Standards. The
          district court chose which expert to rely on by looking at
          which expert hewed most closely to the WPATH Standards
          of Care. See Edmo, 358 F. Supp. 3d at 1124–26. And the
          panel uncritically approves such an approach, calling the
          WPATH Standards “a useful starting point for analyzing the
          credibility and weight to be given to each expert’s opinion.”
          Edmo, 935 F.3d at 788 n.16. By rejecting any expert not (in
          the court’s view) appropriately deferential to WPATH, the
          district court and now the panel have effectively decided ab
          initio that only the WPATH Standards could constitute
          medically acceptable treatment. 6


               6
                In enshrining the WPATH Standards as the “gold standard” for
          determining when to provide surgery to a prisoner with gender
          dysphoria, the panel makes much of the State’s comment in its opening
          statement before the evidentiary hearing that the WPATH Standards are
          the “best standards out there.” Edmo, 935 F.3d at 769, 788 n.16. The
          panel even goes so far as to insist that “[b]oth sides . . . agree that the
          appropriate benchmark regarding treatment for gender dysphoria is the
          World Professional Association of Transgender Health Standards of
          Care for the Health of Transsexual, Transgender, and Gender
          Nonconforming People.” Id. at 767. But, contrary to the panel’s
          suggestion, the State’s admission that the WPATH Standards are more
          refined than any alternative hardly means that the State agrees—or the
          Eighth Amendment requires—that a medical provider must base
          treatment decisions on WPATH’s criteria. Indeed, before the district
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              One would be forgiven for inferring from the panel’s
          opinion that its bold assertions about the WPATH Standards
          are uncontroverted truths. But, as the Fifth Circuit has
          recognized, “the WPATH Standards of Care reflect not
          consensus, but merely one side in a sharply contested
          medical debate over sex reassignment surgery.” Gibson v.
          Collier, 920 F.3d 212, 221 (5th Cir. 2019). For its part, the
          First Circuit, sitting en banc, has likewise held that
          “[p]rudent medical professionals . . . do reasonably differ in
          their opinions regarding [WPATH’s] requirements.”
          Kosilek, 774 F.3d at 88. Our court should have done the
          same.

              The WPATH Standards are merely criteria promulgated
          by a controversial private organization with a declared point
          of view. According to Dr. Stephen Levine, author of the
          WPATH Standards’ fifth version, former Chairman of
          WPATH’s Standards of Care Committee, and the court-
          appointed expert in Kosilek, WPATH attempts to be “both a
          scientific organization and an advocacy group for the
          transgendered. These aspirations sometimes conflict.” Id. at
          78. Sometimes the pressure to be advocates wins the day.
          As Levine put it, “WPATH is supportive to those who want
          sex reassignment surgery. . . . Skepticism and strong
          alternate views are not well tolerated. Such views have been
          known to be greeted with antipathy from the large numbers
          of nonprofessional adults who attend each [of] the
          organization’s biennial meetings . . . .” Id. (ellipses and


          court and before our court, the State clearly rejected the notion that any
          particular treatment criteria defines what is medically acceptable, stating
          that Dr. Eliason’s choice “should be ratified as long as it is a reasonable
          choice.” The panel erroneously construes the State’s refusal to concede
          that it violated the WPATH Standards as a concession that such
          standards are the “benchmark” of legally acceptable medical care.
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          brackets original). WPATH’s own description of its drafting
          process makes this clear. Initially, the sections of the sixth
          version were each assigned to an individual member of
          WPATH who then published a literature review with
          suggested revisions. WPATH Standards, supra, at 109. The
          suggested revisions were then discussed and debated by a
          thirty-four-person Revision Committee, all before a
          subcommittee drafted the new document. Id. at 109–11.
          Only about half of the Revision Committee possesses a
          medical degree. The rest are sexologists, psychotherapists,
          or career activists, with a sociologist and a law professor
          rounding out the group. Id. at 111.

              The pressure to be advocates appears to have won the
          day in the WPATH Standards’ recommendations regarding
          institutionalized persons. Recall that one central point of
          contention between the State’s witnesses and Edmo’s was
          over whether Edmo’s time undergoing hormone therapy in
          prison provides sufficient guarantee that she could live well
          outside of prison as a woman without having ever done so
          before. The district court resolved the debate by citing the
          WPATH Standards’ section on institutionalized persons, see
          Edmo, 358 F. Supp. 3d at 1125, which tersely stipulates that
          institutionalized persons should not be “discriminated
          against” on the basis of their institutionalization, WPATH
          Standards, supra, at 67. Such a recommendation is not
          supported by any research about the similarity between
          prisoners’ experiences with sex-reassignment surgery and
          that of the general public. Indeed, as Edmo’s expert witness
          and WPATH author, Dr. Randi Ettner, admits, there is only
          one known instance of a person undergoing sex-
          reassignment surgery while incarcerated—leaving medical
          knowledge about how such surgery might differ totally
          undeveloped.
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              Instead, WPATH’s recommendation for institutionalized
          persons merely expresses a policy preference. The article
          from which the recommendations are adapted stipulates
          upfront that, because WPATH’s “mission” is “to advocate
          for nondiscriminatory” care, it presumes that treatment
          choices should be the same for all “demographic variables,
          unless there is a clinical indication to provide services in a
          different fashion.” George R. Brown, Recommended
          Revisions to the World Professional Association for
          Transgender Health’s Standards of Care Section on Medical
          Care for Incarcerated Persons with Gender Identity
          Disorder, 11 Int’l J. of Transgenderism 133, 134 (2009).
          Unable to make an evidentiary finding from a sample size of
          one, the article concludes that its presumption should set the
          standard of care and then proceeds to recommend revisions
          with the express purpose of influencing how courts review
          gender dysphoria treatments under the Eighth Amendment.
          Id. at 133, 135. As a later peer-reviewed study by
          Dr. Cynthia Osborne and Dr. Anne Lawrence put it,
          WPATH’s institutionalized-persons recommendations
          follow from an “ethical principle,” not “extensive clinical
          experience.” Cynthia S. Osborne & Anne A. Lawrence,
          Male Prison Inmates With Gender Dysphoria: When Is Sex
          Reassignment Surgery Appropriate?, 45 Archives of Sexual
          Behav. 1649, 1651 (2016).

              Even apart from the concerns over WPATH’s
          ideological commitments, its evidentiary basis is not
          sufficient to justify the court’s reliance on its strict terms.
          The WPATH Standards seem to suggest as much. In its own
          words, the WPATH Standards are simply “flexible clinical
          guidelines,” which explicitly allow that “individual health
          professionals and programs may modify them.” WPATH
          Standards, supra, at 2. Indeed, the most recent WPATH
          Standards “represents a significant departure from previous
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          versions” in part due to significant changes in researchers’
          conclusions over the preceding decade. Id. at 1 n.2.
          Moreover, the WPATH Standards lack the evidence-based
          grading system that characterizes archetypal treatment
          guidelines, such as the Endocrine Society’s hormone therapy
          guidelines. Lacking evidence-based grading, the WPATH
          Standards leave practitioners in the dark about the strength
          of a given recommendation. See William Byne et al., Report
          of the American Psychiatric Association Task Force on
          Treatment of Gender Identity Disorder, 41 Archives of
          Sexual Behav. 759, 783 (2012) (concluding that “the level
          of evidence” supporting WPATH’s Standards’ criteria for
          sex-reassignment surgery “was generally low”). For these
          reasons, the Centers for Medicare & Medicaid Services, an
          agency of the United States Department of Health and
          Human Services, decided, “[b]ased on a thorough review of
          the clinical evidence,” that providers may consult treatment
          criteria other than WPATH, including providers’ own
          criteria. Ctrs. for Medicare & Medicaid Servs, Proposed
          Decision Memo for Gender Dysphoria and Gender
          Reassignment Surgery (June 2, 2016); Ctrs. for Medicare &
          Medicaid Servs, Decision Memo for Gender Dysphoria and
          Gender Reassignment Surgery (Aug. 30, 2016).

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              The panel’s disposition results from its failure to put the
          WPATH Standards in proper perspective. Had the district
          court understood that Edmo’s experts’ role in WPATH
          marks them not with special insight into the legally
          acceptable care, but rather as mere participants in an ongoing
          medical debate, they would have acknowledged this case for
          what it is: a “case of dueling experts.” Edmo, 935 F.3d
          at 787. Instead of giving Drs. Garvey and Andrade (to say
          nothing of Dr. Eliason) “no weight” due to their insufficient
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          fealty to WPATH, the district court should have recognized
          them as legitimate, experienced participants in that debate.
          And had the State’s experts’ criticisms of and interpretation
          of the WPATH Standards been given proper weight—any
          weight at all—the district court would have had to conclude
          that the State’s disagreement with Edmo’s experts was a
          mere “difference of medical opinion,” not a constitutional
          violation. Jackson, 90 F.3d at 332.

              So too with its assessment of Dr. Eliason’s treatment
          choice. It is instructive that the worst the district court can
          say about Dr. Eliason is that he “did not apply the WPATH
          criteria.” Edmo, 358 F. Supp. 3d at 1126. Focusing the
          analysis not on whether Dr. Eliason applied the standards of
          a professional association but rather on whether the
          treatment choice was within that of a prudent, competent
          practitioner, the cautious treatment selected by Dr. Eliason
          is plainly constitutionally acceptable.

              As Drs. Garvey and Andrade explain, it is medically
          acceptable to offer Edmo a treatment of hormone therapy
          and psychotherapy but not sex-reassignment surgery. The
          practitioners’ fear that sex-reassignment surgery would
          exacerbate Edmo’s other mental illnesses and increase the
          risk of surgery was a genuine and sound fear. As Dr. Garvey
          put it, “[b]ased on her current coping strategies, I would be
          concerned about her suicide risk after surgery.” Although
          the measured “regret rate,” which refers to the proportion of
          postoperative patients who regret their surgery, is “low,” see
          Edmo, 935 F.3d at 771, the district court and the panel failed
          to acknowledge detailed testimony that those studies
          neglected to follow up with such a high proportion of the
          observed sample that the stated figure does not “represent
          the full picture.” In Dr. Andrade’s opinion, “I think there are
          things she needs to work out in therapy in the short and long
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          term before she can make a really well-informed decision
          about surgery.” He raised the concern that Edmo is
          particularly at risk because of “unresolved trauma” that may
          stem, not from gender dysphoria, but instead from past
          sexual abuse.

              Dr. Eliason’s view that Edmo needed to have lived as a
          woman outside of prison in order to ensure that she would
          be able to adapt well after the surgery was also legitimate.
          Indeed, under the peer-reviewed treatment criteria
          developed by Drs. Osborne and Lawrence, Edmo was not
          eligible for sex-reassignment surgery for these exact reasons.
          Acknowledging the lack of evidence concerning the effects
          of sex-reassignment surgery on inmates, the unique
          challenges imposed by the correctional setting, and the
          significant risk of patient regret, Drs. Osborne and Lawrence
          proposed criteria that require a prospective patient have “a
          satisfactory disciplinary record and demonstrated capacity to
          cooperate” and “a long period of expected incarceration after
          [surgery],” among others. Osborne & Lawrence, supra,
          at 1661. This latter criterion helps to ensure that male-to-
          female patients have “a longer period of time to consolidate
          one’s feminine gender identity and gender role.” Id. at 1660;
          see also id. at 1656 (“[I]nmates with [gender dysphoria] who
          attempt to live in female-typical gender roles within men’s
          prisons . . . could not effectively prepare” for life after
          surgery.) The district court disregarded such additional,
          peer-reviewed treatment criteria because they “are not part
          of the WPATH criteria and are in opposition to the WPATH
          Standards of Care.” Edmo, 358 F. Supp. 3d at 1126. Had
          the district court taken a step back and considered not
          whether Osborne and Lawrence were WPATH-compliant
          but rather whether a competent physician could rely on their
          reasoning, it would have had to conclude that Dr. Eliason’s
          treatment choice was that of a competent, prudent physician.
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              Perhaps recognizing such problems with the district
          court’s definition of medical unacceptability, the panel
          concludes its medical-unacceptability analysis by changing
          the subject. Instead of considering whether Dr. Eliason’s
          choice of treatment was medically unacceptable, the panel
          fixates on Dr. Eliason’s chart notes, which sets forth three
          general categories in which he believes sex-reassignment
          surgery may be required: (1) “Congenital malformation or
          ambiguous genitalia,” (2) “Severe and devastating dysphoria
          that is primarily due to genitals,” (3) or “Some type of
          medical problem in which endogenous sexual hormones
          were causing severe physiological damage.” According to
          the panel, such categories “bear little resemblance” to the
          WPATH Standards and therefore “Dr. Eliason’s evaluation
          was not an exercise of medically acceptable professional
          judgment.” Edmo, 935 F.3d at 791–92. In the first place,
          Dr. Eliason’s categories are not meant to substitute for
          treatment standards. Such categories describe three broad
          pools of eligible patients; whether a particular patient
          belongs in a certain pool—by having dysphoria sufficiently
          severe to require sex-reassignment surgery, for instance—
          would be resolved by more detailed evaluative criteria. In
          the second place, conformity to WPATH is not the test of
          constitutionally acceptable treatment of gender dysphoria.
          But more broadly, the panel simply asks the wrong question.
          Deliberate indifference may be inferred when “the course of
          treatment the doctors chose was medically unacceptable
          under the circumstances,” not when the doctors’
          contemporaneous explanation of the choice is incomplete.
          Jackson, 90 F.3d at 332 (emphasis added); see also Snow,
          681 F.3d at 988; Toguchi, 391 F.3d at 1058; Hamby v.
          Hammond, 821 F.3d 1085, 1092 (9th Cir. 2016) (all referring
          to the “course of treatment,” not the rationale). It does not
          matter that Dr. Eliason’s testimony justifies his treatment
          choice in ways not explicit in his chart notes such that the
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          panel calls his testimony a “post hoc explanation.” Edmo,
          935 F.3d at 791. So long as the ultimate treatment choice
          was medically acceptable, our precedents tell us, we cannot
          infer “the unnecessary and wanton infliction of pain” that
          violates the Eighth Amendment.

                                        B

              Even were the panel correct that the only medically
          acceptable way to approach a gender dysphoric patient’s
          request for sex-reassignment surgery is to apply the WPATH
          Standards of Care, we still could not infer a constitutional
          violation from these facts. As the Supreme Court has
          explained, the Eighth Amendment simply proscribes
          categories of punishment, and punishment is “a deliberate
          act intended to chastise or deter.” Wilson v. Seiter, 501 U.S.
          294, 299–300 (1991). “[O]nly the ‘unnecessary and wanton
          infliction of pain’ implicates the Eighth Amendment.” Id.
          at 297 (quoting Estelle, 429 U.S. at 104) (emphasis original).
          Hence the commonplace deliberate-indifference inquiry,
          which is a culpability standard equivalent to criminal
          recklessness. Farmer, 511 U.S. at 839–40. Simply put,
          unless the official “knows of and disregards an excessive
          risk to inmate health and safety,” he does not violate the
          Eighth Amendment. Id. at 837.

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              With little explanation, the panel castigates Dr. Eliason
          for having “disregarded” risks that he directly and
          forthrightly addressed. Edmo, 935 F.3d at 793. Far from
          disregarding the risk that Edmo would attempt to castrate
          herself, Dr. Eliason investigated the causes of such a risk and
          took concrete steps to mitigate it. Edmo’s self-harm
          (including her castration attempts) followed closely after her
          disciplinary infractions and other severe stressors.
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          Identifying this causal connection, Dr. Eliason prescribed
          and encouraged regular counseling to address Edmo’s acting
          out and her ability to cope. Dr. Eliason also sought to further
          deter self-castration by explaining to Edmo that she will
          need to have intact genitals for any eventual surgery,
          something Edmo now understands and articulated in her
          testimony. Likewise, contrary to the panel’s conclusion that
          he disregarded the risk of continued distress, Dr. Eliason
          opted for a treatment of continued hormone therapy and
          more regular supportive counseling precisely because
          hormone therapy had already substantially ameliorated the
          distress from the dysphoria.

              Furthermore, the panel errs by fixating on such
          individual risks. Physicians ministrate to whole individuals
          with whole diseases. Thus, individual risks may—and
          frequently do—persist for the sake of the overall health of
          the person. Dr. Eliason and his staff clearly believed their
          treatment choice would mitigate overall risk, including
          grave risks the panel downplays. Given Edmo’s long-term
          struggles with severe depression and addiction, coupled with
          the fact that she had not lived as a woman within her social
          network, Eliason and the other doctors with whom he staffed
          the evaluation were concerned that she would have trouble
          adjusting after surgery, which could lead to regret, relapse,
          or new mood disorders. Ultimately, they worried that she
          might attempt suicide again. Such risks are not trifling and,
          in light of them, Dr. Eliason’s willingness to accept some
          risk that Edmo would try to castrate herself or would
          continue to feel the distress of gender dysphoria (while
          taking steps to mitigate such risks) is anything but
          deliberately indifferent.
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              None of this is to acquiesce in the straw-man argument
          set up by the panel: that, so long as officials provide some
          care, they are immunized from an Eighth Amendment claim.
          One may assume that some medical care is indeed so
          obviously inadequate that, without any direct evidence of the
          defendant’s state of mind, we may infer that the defendant
          was deliberately indifferent. See Farmer, 511 U.S. at 842
          (remarking that deliberate indifference is “subject to
          demonstration in the usual ways, including inference from
          circumstantial evidence” and may be inferred “from the very
          fact that the risk was obvious”). 7 But that is not this case.

              Even in a legal universe in which the WPATH Standards
          define adequate care, Dr. Eliason’s deviations were not
          deliberately indifferent. He selected a course of treatment
          that, in light of the complex of diagnoses, the grave risks,
          and the rapidly evolving nature of the medical research, was

               7
                 It should, however, be noted that the panel fails to identify a
          precedent of ours in which we have inferred a physician’s deliberate
          indifference solely from the inadequate nature of the treatment and the
          persistence of known risks. In the nearest cases, some other
          circumstantial evidence has suggested the obviousness of the inadequacy
          such that the physician must have been aware of the inadequacy. E.g.,
          Snow, 681 F.3d at 988 (non-specialist refused the recommendation of a
          treating specialist); Hamilton v. Endell, 981 F.2d 1062, 1067 (9th Cir.
          1992) (same); Lopez v. Smith, 203 F.3d 1122, 1132 (9th Cir. 2000)
          (same); Hunt v. Dental Dep’t, 865 F.2d 198, 201 (9th Cir. 1989) (refusal
          to replace the dentures prisoner had been prescribed); Jett v. Penner,
          439 F.3d 1091, 1098 (9th Cir. 2006) (prisoner not referred to specialist
          for reasons unrelated to the prisoner’s medical needs and medical records
          were manipulated); Colwell v. Bannister, 763 F.3d 1060, 1070 (9th Cir.
          2014) (reliance on arbitrary prison policy). I do not doubt that mere
          inadequacy may raise the inference of deliberate indifference, but we
          seem to leave such an inference for cases of genuine quackery.
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          not obviously inadequate. Cf. Lemire, 726 F.3d at 1075 (“A
          prison official’s deliberately indifferent conduct will
          generally ‘shock the conscience’ so long as the prison
          official had time to deliberate before acting . . . .”). He
          subjected his assessment to a review process intended to
          surface any possibility he was not considering, a review
          process that included several doctors and a full committee.
          And far from being an “unjustifiable” or “gross” deviation
          from the WPATH Standards, he departed from WPATH by
          raising the Standards’ own concerns for the presence of
          comorbid conditions and the patient’s limited experience as
          a woman. See Farmer, 511 U.S. at 839 (incorporating the
          Model Penal Code’s definition of criminal recklessness);
          Model Penal Code § 2.02(2)(c) (1985) (stating that the
          criminally reckless individual “disregards a substantial and
          unjustifiable risk” and that such disregard “involves a gross
          deviation from the standard of conduct that a law-abiding
          person would observe in the actor’s situation.”). Indeed, the
          panel concludes that his deviations were simply not
          “reasonable”—the test for negligent malpractice, not
          deliberate indifference. Edmo, 935 F.3d at 792. “Eighth
          Amendment liability requires ‘more than ordinary lack of
          due care . . . .’” Farmer, 511 U.S. at 835 (quoting Whitley v.
          Albers, 475 U.S. 312, 319 (1986)).

                                        III

              The panel’s novel approach to Eighth Amendment
          claims for sex-reassignment surgery conflicts with every
          other circuit to consider the issue. The panel acknowledges
          such a circuit split with the Fifth Circuit’s opinion in Gibson
          v. Collier, 920 F.3d 212 (5th Cir. 2019), but tries—and
          fails—to distinguish the First Circuit’s en banc opinion in
          Kosilek v. Spencer, 774 F.3d 63 (1st Cir. 2014). See Edmo,
          935 F.3d at 794–95. The panel does not even address a third
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          decision: the Tenth Circuit’s opinion in Lamb v. Norwood,
          899 F.3d 1159 (10th Cir. 2018).

              Just as in this case, the First Circuit considered an appeal
          of an injunction mandating sex-reassignment surgery. But,
          unlike our court, the First Circuit reversed. Though the panel
          attempts to downplay the direct conflict between its opinion
          and Kosilek by pointing to minor differences between the
          factual circumstances in each case, 8 the decisive differences
          are matters of law. As to whether the care was medically
          unacceptable, the First Circuit held that medically acceptable
          treatment of gender dysphoric prisoners is not synonymous
          with the demands of WPATH. Kosilek first reversed the
          district court’s finding that one of the State’s experts was
          “illegitimate” because the district court “made a
          significantly flawed inferential leap: it relied on its own—
          non-medical—judgment” and put too much “weight” on the
          WPATH Standards. Kosilek, 774 F.3d at 87–88. With that
          expert now taken seriously, the First Circuit held that the
          denial of Kosilek’s sex-reassignment surgery was medically

               8
                 The differences between the circumstances in Kosilek and those in
          this case are not substantial enough to distinguish the holdings. The
          clinical judgments in each case were motivated by concerns about
          coexisting mental health conditions and the risk of suicide. Kosilek,
          774 F.3d at 72. Just as in this case, Kosilek surfaced expert opinions that
          the WPATH Standards are best applied flexibly, that in-prison
          experience in the newly assigned gender is not a sufficient guarantee of
          ability to transition, and that practitioners face a “dearth of empirical
          research” on sex-reassignment surgery. Id. at 72–73, 76. The “security
          concerns” over how to house a potential postoperative Kosilek, which
          the panel considers the foremost difference between the two cases, was
          not even essential to Kosilek’s holding. See Edmo, 935 F.3d at 794;
          Kosilek, 774 F.3d at 91–92 (concluding that the officials’ “choice of a
          medical option . . . does not exhibit a level of inattention or callousness
          to a prisoner’s needs rising to a constitutional violation” before even
          analyzing the security concerns).
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          acceptable because it was within the bounds of “the medical
          standards of prudent professionals.” Id. at 90. On the
          question of deliberate indifference, the First Circuit applied
          a test, which, unlike the panel’s inference from the
          practitioners’ mere knowledge that a course of treatment
          carried risks, asked whether the practitioners “knew or
          should have known” that course of treatment was medically
          unacceptable. Id. at 91.

              For its part, the Fifth Circuit has held that good faith
          denial of sex-reassignment surgery never violates the Eighth
          Amendment.        Recognizing “large gaps” in medical
          knowledge and a “robust and substantial good faith
          disagreement dividing respected members of the expert
          medical community,” the Fifth Circuit concluded that “there
          can be no claim [for sex-reassignment surgery] under the
          Eighth Amendment.” Gibson, 920 F.3d at 220, 222. Indeed,
          Texas’s refusal to even evaluate the inmate for sex-
          reassignment surgery is, in the words of the Fifth Circuit, not
          “so unconscionable as to fall below society’s minimum
          standards of decency” and permit an Eighth Amendment
          claim. Id. at 216 (quoting Kosilek, 774 F.3d at 96).

              Finally, the Tenth Circuit has upheld the entry of
          summary judgment against a prisoner’s Eighth Amendment
          claim for sex-reassignment surgery. See Lamb, 899 F.3d
          at 1163. As in this case, the doctor who evaluated the
          prisoner in Lamb determined that “surgery is impractical and
          unnecessary in light of the availability and effectiveness of
          more conservative therapies.” Id. Adopting Kosilek’s
          subjective standard—that an Eighth Amendment violation
          would take place “only if prison officials had known or
          should have known” that “sex reassignment surgery [was]
          the only medically adequate treatment”—the Tenth Circuit
          held that “prison officials could not have been deliberately
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          indifferent by implementing the course of treatment
          recommended by a licensed medical doctor.” Id. at 1163 &
          n.11 (citing Kosilek, 774 F.3d at 91).

               Although I am not aware of any other circuits to have
          directly addressed the questions posed in this case, 9 for its
          part, the Seventh Circuit has held that it is at least not
          “clearly established” that there is a constitutional right to
          gender-dysphoria treatment beyond hormone therapy.
          Campbell v. Kallas, 936 F.3d 536, 549 (7th Cir. 2019). Nor
          is it “clearly established” that a prison medical provider is
          prohibited from denying sex-reassignment surgery on the
          basis of the patient’s status as an institutionalized person. Id.
          at 541, 549.

               With this decision, our circuit sets itself apart.

                                           IV

              I do not know whether sex-reassignment surgery will
          ameliorate or exacerbate Adree Edmo’s suffering.
          Fortunately, the Constitution does not ask federal judges to
          put on white coats and decide vexed questions of psychiatric
          medicine. The Eighth Amendment forbids the “unnecessary
          and wanton infliction of pain,” not the “difference of opinion
          between a physician and the prisoner—or between medical



               9
                The Seventh and Fourth Circuits (along with our own circuit) have
          also held that arbitrary blanket bans on certain gender dysphoria
          treatments can violate the Eighth Amendment—an issue not presented
          here because Idaho evaluates prisoner requests for sex-reassignment
          surgery on a case-by-case basis. See Rosati v. Igbinoso, 791 F.3d 1037,
          1040 (9th Cir. 2015); De’lonta v. Johnson, 708 F.3d 520, 526 (4th Cir.
          2013); Fields v. Smith, 653 F.3d 550, 556 (7th Cir. 2011).
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          professionals.” Snow, 681 F.3d at 985, 987 (quoting Estelle,
          429 U.S. at 104).

              Yet today our court assumes the role of Clinical
          Advisory Committee. Far from rendering an opinion
          “individual to Edmo” that “rests on the record,” Edmo,
          935 F.3d at 767, the panel entrenches the district court’s
          unfortunate legal errors as the law of this circuit. Instead of
          permitting prudent, competent patient care, our court
          enshrines the WPATH Standards as an enforceable “medical
          consensus,” effectively putting an ideologically driven
          private organization in control of every relationship between
          a doctor and a gender dysphoric prisoner within our circuit.
          Instead of reserving the Eighth Amendment for the grossly,
          unjustifiably reckless, the panel infers a culpable state of
          mind from the supposed inadequacy of the treatment.

              We have applied the traditional deliberate-indifference
          standard to requests for back surgery, kidney transplant, hip
          replacement, antipsychotic medication, and hernia surgery.
          Yet suddenly the request for sex-reassignment surgery—and
          the panel’s closing appeal to what it calls the “increased
          social awareness” of the needs and wants of transgender
          citizens—effects a revolution in our law! Id. at 803. The
          temptation to stand at what we are told is society’s next
          frontier and to invent a constitutional right to state-funded
          sex-reassignment surgery does not justify the revision of
          previously universal principles of Eighth Amendment
          jurisprudence.

              Dr. Eliason and the State’s other practitioners were not
          deliberately indifferent—far from it. And they certainly
          were not guilty of violating the Eighth Amendment. They
          confronted the serious risks to Edmo’s health, especially the
          gravest one. They considered the knotty quandary posed by
          her overlapping illnesses and the vicissitudes of her life.
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          Mindful of the dictate “first do no harm,” these doctors
          determined that the appropriate treatment would be more
          cautious and more reversible than the one the patient desired.
          And they did so in the shadow of the ongoing debate about
          when the surgical replacement of the genitals is curative and
          when it is not.

               Surely this was not cruel and unusual punishment.



          COLLINS, Circuit Judge, dissenting from the denial of
          rehearing en banc:

              The Supreme Court has held that a prisoner claiming that
          his or her medical treatment is so inadequate that it
          constitutes “cruel and unusual punishment” in violation of
          the Eighth Amendment must make the demanding showing
          that prison officials acted with “deliberate indifference” to
          the prisoner’s “serious medical needs.” Estelle v. Gamble,
          429 U.S. 97, 104 (1976). As judges of an “inferior Court[],”
          see U.S. Const. art. III, § 1, we are bound to apply that
          standard, but as Judge Bumatay explains, the panel here
          effectively waters it down into a “mere negligence” test. See
          infra at 47–48 (Bumatay, J., dissenting from denial of
          rehearing en banc). That is, by narrowly defining the range
          of “medically acceptable” options that the court believes a
          prison doctor may properly consider in a case such as this
          one, and by then inferring deliberate indifference from
          Dr. Eliason’s failure to agree with that narrow range, the
          district court and the panel have applied standards that look
          much more like negligence than deliberate indifference. Id.
          at 45–48. Whether Dr. Eliason was negligent or not (a
          question on which I express no opinion), his treatment
          decisions do not amount to “cruel and unusual punishment,”
          and we have thus strayed far from any proper understanding
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          of the Eighth Amendment. I therefore join Part II of Judge
          Bumatay’s dissent, and I respectfully dissent from our
          failure to rehear this case en banc.



          BUMATAY, Circuit Judge, with whom CALLAHAN,
          IKUTA, R. NELSON, BADE, and VANDYKE, Circuit
          Judges, join, and with whom COLLINS, Circuit Judge, joins
          as to Part II, dissenting from the denial of rehearing en banc:

              Like the panel and the district court, I hold great
          sympathy for Adree Edmo’s medical situation. And as with
          all citizens, her constitutional rights deserve the utmost
          respect and vigilant protection. As the district court rightly
          stated,

                  The Rule of Law, which is the bedrock of our
                  legal system, promises that all individuals
                  will be afforded the full protection of our
                  legal system and the rights guaranteed by our
                  Constitution.     This is so whether the
                  individual seeking that protection is black,
                  white, male, female, gay, straight, or, as in
                  this case, transgender. 1

              Adree Edmo is a transgender woman suffering from
          gender dysphoria—a serious medical condition. While
          incarcerated in Idaho’s correctional facilities, she asked that
          her gender dysphoria be treated with sex-reassignment

              1
               Edmo v. Idaho Dep’t of Corr., 358 F. Supp. 3d 1103, 1109 (D.
          Idaho 2018), order clarified, No. 1:17-CV-00151-BLW, 2019 WL
          2319527 (D. Idaho May 31, 2019), and aff’d in part, vacated in part,
          remanded sub nom. Edmo v. Corizon, Inc., 935 F.3d 757 (9th Cir. 2019).
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          surgery (“SRS”). After consultation with a prison doctor,
          her request was denied. She then sued under the Eighth
          Amendment. 2

              I respect Edmo’s wishes and hope she is afforded the best
          treatment possible. But whether SRS is the optimal
          treatment for Edmo’s gender dysphoria is not before us. As
          judges, our role is not to take sides in matters of conflicting
          medical care. Rather, our duty is to faithfully interpret the
          Constitution.

              That duty commands that we apply the Eighth
          Amendment, not our sympathies. Here, in disregard of the
          text and history of the Constitution and precedent, the
          panel’s decision elevates innovative and evolving medical
          standards to be the constitutional threshold for prison
          medical care. In doing so, the panel minimizes the standard
          for establishing a violation of the Eighth Amendment.

              After today’s denial of rehearing en banc, the Ninth
          Circuit stands alone in finding that a difference of medical
          opinion in this debated area of treatment amounts to “cruel
          and unusual” punishment under the Constitution. While this
          posture does not mean we are wrong, it should at least give
          us pause before embarking on a new constitutional
          trajectory. This is especially true given the original meaning
          of the Eighth Amendment.

             Because the panel’s opinion reads into the Eighth
          Amendment’s Cruel and Unusual Clause a meaning in
          conflict with its text, original meaning, and controlling

               2
                 Because Judge O’Scannlain thoroughly recites the relevant facts in
          his opinion respecting the denial of the rehearing en banc, which I join
          in full, I do not reiterate them here.
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          precedent, I respectfully dissent from the denial of rehearing
          en banc.

                                          I.

              In holding that Idaho 3 violated the Eighth Amendment,
          the panel opined that the Constitution’s text and original
          meaning merited “little discussion.” See Edmo, 935 F.3d
          at 797 n.21. I disagree.

               As inferior court judges, we are bound by Supreme Court
          precedent. Yet, in my view, judges also have a “duty to
          interpret the Constitution in light of its text, structure, and
          original understanding.” NLRB v. Noel Canning, 573 U.S.
          513, 573 (2014) (Scalia, J., concurring). While we must
          faithfully follow the Court’s Eighth Amendment precedent
          as articulated in Estelle v. Gamble, 429 U.S. 97 (1976), and
          its progeny, “[w]e should resolve questions about the scope
          of those precedents in light of and in the direction of the
          constitutional text and constitutional history.” Free Enter.
          Fund v. Public Co. Accounting Oversight Bd., 537 F.3d 667,
          698 (D.C. Cir. 2008) (Kavanaugh, J., dissenting), aff’d in
          part, rev’d in part and remanded, 561 U.S. 477 (2010).

              Accordingly, the Eighth Amendment’s history and
          original understanding are of vital importance to this case.

                                         A.

              The Eighth Amendment provides that “[e]xcessive bail
          shall not be required, nor excessive fines imposed, nor cruel
          and unusual punishments inflicted.” U.S. Const. amend.

              3
                For simplicity, I collectively refer to Defendants below and
          Appellants here as “Idaho.”
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          VIII. Even just a cursory review of the amendment’s
          original meaning shows that Edmo’s claims fall far below a
          constitutional violation as a matter of text and original
          understanding.

              At the time of the Eighth Amendment’s ratification,
          “cruel” meant “[p]leased with hurting others; inhuman;
          hard-hearted; void of pity; wanting compassion; savage;
          barbarous; unrelenting.” Bucklew v. Precythe, 139 S. Ct.
          1112, 1123 (2019) (citing 1 Samuel Johnson, A Dictionary
          of the English Language (4th ed. 1773); 1 Noah Webster, An
          American Dictionary of the English Language (1828)
          (“Disposed to give pain to others, in body or mind; willing
          or pleased to torment, vex or afflict; inhuman; destitute of
          pity, compassion or kindness.”)). Even today, “cruel”
          punishments have been described as “inhumane,” Farmer v.
          Brennan, 511 U.S. 825, 838 (1994), involving the
          “unnecessary and wanton infliction of pain,” Whitley v.
          Albers, 475 U.S. 312, 319 (1986) (emphasis added)
          (citations omitted), or involving the “superadd[ition] of
          terror, pain, or disgrace.” Bucklew, 139 S. Ct. at 1124
          (emphasis added) (internal quotation marks and citations
          omitted).

              In the 18th Century, a punishment was “unusual” if it ran
          contrary to longstanding usage or custom, or had long fallen
          out of use. Bucklew, 139 S. Ct. at 1123 (citing 4 William
          Blackstone, Commentaries on the Laws of England 370
          (1769); Stuart Banner, The Death Penalty: An American
          History 76 (2002); Baze v. Rees, 553 U.S. 35, 97 (2008)
          (Thomas, J., concurring); John F. Stinneford, The Original
          Meaning of “Unusual”: The Eighth Amendment as a Bar to
          Cruel Innovation, 102 Nw. U. L. Rev. 1739, 1770–71, 1814
          (2008)). This early understanding comports with the plain
          meaning of “unusual,” which has changed little from our
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          Nation’s founding. See Harmelin v. Michigan, 501 U.S.
          957, 976 (1991) (comparing Webster’s American Dictionary
          (1828) definition of “unusual” as that which does not
          “occu[r] in ordinary practice” with Webster’s Second
          International Dictionary 2807 (1954) as that which is not “in
          common use.”).

              Conversely, customs enjoying a long history of usage
          were described as “usual” practices. Stinneford, supra,
          at 1770.    James Wilson, a key contributor to the
          Constitution, stated that “long customs, approved by the
          consent of those who use them, acquire the qualities of a
          law.” 2 James Wilson, Collected Works of James Wilson
          759 (Kermit L. Hall & Mark David Hall eds., Indianapolis,
          Liberty Fund 2007); see also Stinneford, supra, at 1769.
          Likewise, early American courts construing the term “cruel
          and unusual” (generally, as used in state constitutions)
          upheld punishments that were not “unusual” in light of
          common law usage. Stinneford, supra, at 1810–11 (citing
          Barker v. People, 20 Johns. 457, 459 (N.Y. Sup. Ct. 1823),
          aff’d, 3 Cow. 686 (N.Y. 1824); Commonwealth v. Wyatt,
          27 Va. 694, 701 (Va. Gen. Ct. 1828); People v. Potter, 1
          Edm. Sel. Cas. 235, 245 (N.Y. Sup. Ct. 1846)). Thus,
          “[u]nder the plain meaning of the term, a prison policy
          cannot be ‘unusual’ if it is widely practiced in prisons across
          the country.” Gibson v. Collier, 920 F.3d 212, 226 (5th Cir.
          2019).

              Finally, various views have been proposed with respect
          to the original meaning of “punishment” in the Eighth
          Amendment. Some view the word as being inapplicable to
          conditions of confinement. See, e.g., Farmer, 511 U.S.
          at 837 (“The Eighth Amendment does not outlaw cruel and
          unusual ‘conditions’; it outlaws cruel and unusual
          ‘punishments.’”) (Souter, J.). Some have even suggested
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          that “punishment” refers only to sentences imposed by a
          judge or jury. See Hudson v. McMillian, 503 U.S. 1, 18
          (1992) (Thomas, J., dissenting); but see Helling v.
          McKinney, 509 U.S. 25, 40 (1993) (Thomas, J., dissenting)
          (recognizing that the “evidence is not overwhelming” on this
          question). Others believe the term was originally understood
          to encompass more than sentences called for by statute or
          meted out from the bench or jury box, but it required
          deliberate intent. See, e.g., Wilson v. Seiter, 501 U.S. 294,
          300 (1991) (“The infliction of punishment is a deliberate act
          intended to chastise or deter. This is what the word means
          today; it is what it meant in the eighteenth century.”) (Scalia,
          J.) (quoting Duckworth v. Franzen, 780 F.2d 645, 652 (7th
          Cir. 1985)); see also Celia Rumann, Tortured History:
          Finding Our Way Back to the Lost Origins of the Eighth
          Amendment, 31 Pepp. L. Rev. 661, 675, 677 (2004)
          (presenting historical evidence that the word punishment
          was “understood at the time to include torturous
          interrogation”) (citing 4 William Blackstone, Commentaries
          on the Laws of England; 3 Jonathan Elliot, The Debates in
          the Several State Conventions on the Adoption of the
          Federal Constitution 447–48).

                                        B.

              While the foregoing overview does not provide the full
          contours of the original understanding of the Cruel and
          Unusual Clause, it demonstrates that Idaho’s actions are far
          from a constitutional violation based on the clause’s text and
          original meaning. Idaho’s actions simply do not amount to
          the “barbarous” or “inhuman” treatment so out of line with
          longstanding practice as to be forbidden by the Eighth
          Amendment.
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              No longstanding practice exists of prison-funded SRS. 4
          Indeed, the medical standards at the heart of Edmo’s claim
          are innovative and evolving. The standards of care relied on
          by Edmo were promulgated by the World Professional
          Association for Transgender Health (“WPATH”) in 2011—
          only about five years before Edmo’s lawsuit. WPATH,
          Standard of Care for the Health of Transsexual,
          Transgender, and Gender-Nonconforming People (7th ed.
          2011) (“WPATH standards”). As the standards themselves
          note, this “field of medicine is evolving.” The WPATH
          standards also call for flexibility, individual tailoring, and
          wide latitude in treatment options.

              Likewise, as recognized by numerous federal courts, the
          WPATH standards are not accepted as medical consensus.
          The first circuit court to address the issue ruled that the
          WPATH standards did not foreclose alternative treatment
          options, and that a doctor’s decision to choose a non-
          WPATH treatment did not violate the Eighth Amendment.
          Kosilek v. Spencer, 774 F.3d 63, 90 (1st Cir. 2014). The
          Fifth Circuit also found that the WPATH standards remained
          controversial and did not reflect a consensus. Gibson,
          920 F.3d at 223. Similarly, after reciting the WPATH
          standard’s recommended treatment options for gender
          dysphoria, the Tenth Circuit rejected a claim that prison
          officials acted with deliberate indifference “by
          implementing [an alternative] course of treatment
          recommended by a licensed medical doctor,” rather than

               4
                 See, e.g., Quine v. Beard, No.14-cv-02726-JST, 2017 WL
          1540758, at *1 (N.D. Cal. Apr. 28, 2017), aff’d in part, vacated in part,
          rev’d in part sub nom. Quine v. Kernan, 741 F. App’x 358 (9th Cir.
          2018); Kristine Phillips, A Convicted Killer Became the First U.S.
          Inmate to Get State-Funded Gender-Reassignment Surgery, Wash. Post
          (Jan. 10, 2017), https://wapo.st/2S21zP3.
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          SRS. Lamb v. Norwood, 899 F.3d 1159, 1163 (10th Cir.
          2018), cert. denied, 140 S. Ct. 252 (2019). 5

              The debate about the WPATH standards continues even
          outside prison walls. The Centers for Medicare and
          Medicaid Services (“CMS”) declined to adopt the WPATH
          standards due to inadequate scientific backing, and instead
          gives providers discretion to apply either the WPATH
          standards or their own standards. CMS, Decision Memo for
          Gender Dysphoria and Gender Reassignment Surgery
          (August 30, 2016), available at https://go.cms.gov/36yMrx
          X.     Similarly, the American Psychiatric Association
          expressed concern about the scientific evidence
          undergirding the WPATH standards. And as recently as
          2017, WPATH requested that Johns Hopkins University
          conduct an evidence-based review of the standards, a review
          that, at the time of Edmo’s lawsuit, was ongoing.

              Idaho’s actions reflect the uncertainty regarding the
          WPATH standards throughout the medical field, and do not,
          under the record, reflect a want of compassion. See supra
          O’Scannlain, J., dissenting at 22–29. Given the lack of
          medical consensus, Dr. Eliason’s decision to pursue an
          alternative treatment, rather than SRS, cannot constitute the
          “barbarous” or “inhuman” conduct prohibited by the Eighth
          Amendment. See Bucklew, 139 S. Ct. at 1123. Nothing in
          the record reflects that Dr. Eliason’s diagnosis and treatment
          of Edmo was tainted by malice or animosity. Notably,
          Dr. Eliason concluded that Edmo had coexisting mental

               5
                 In the non-SRS context, the Tenth Circuit also found no Eighth
          Amendment violation where a doctor prescribed lower hormonal
          treatment levels for a gender dysphoric inmate than those suggested by
          the WPATH standards. Druley v. Patton, 601 F. App’x 632, 635 (10th
          Cir. 2015).
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          health issues that required treatment and counseling prior to
          considering SRS. The district court itself found Edmo’s
          reluctance to address those issues “troubling.” Edmo, 358 F.
          Supp. 3d at 1121. Additionally, Idaho had no blanket policy
          prohibiting SRS, and Dr. Eliason never definitively ruled it
          out. Dr. Eliason committed to monitoring Edmo’s candidacy
          for SRS after deciding that Edmo did not meet the criteria
          for the procedure in 2016. In sum, Dr. Eliason’s decision to
          pursue an alternative treatment to SRS suggests a tailored
          evaluation of potential risks and does not reflect the hard-
          hearted or barbarous treatment proscribed by the text of the
          Constitution.

              Given the facts of this case, Dr. Eliason’s treatment
          cannot rise to the infliction of cruel and unusual
          punishment—not in a sense that bears any resemblance to
          the original meaning of that phrase. This is not to say that
          the WPATH standards are not a medically acceptable
          standard. But the innovative, contested, and evolving nature
          of the WPATH standards, the lack of medical consensus, and
          the particular circumstances of this case make clear that no
          constitutional violation occurred under the Constitution’s
          text and original understanding.

                                       II.

             In addition to being inconsistent with the original
          understanding of the Eighth Amendment, I, like Judge
          O’Scannlain, believe that the panel decision departs from
          precedent.

                                       A.

              Since Estelle v. Gamble, the Supreme Court has
          recognized claims for inadequate medical treatment under
          the Eighth Amendment when prison officials act with
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          “deliberate indifference to serious medical needs of
          prisoners.” 429 U.S. at 104. The test for such a claim
          involves “both an objective standard—that the deprivation
          was serious enough to constitute cruel and unusual
          punishment—and a subjective standard—deliberate
          indifference.” Snow v. McDaniel, 681 F.3d 978, 985 (9th
          Cir. 2012), overruled on other grounds by Peralta v. Dillard,
          774 F.3d 1076 (9th Cir. 2014). Under Ninth Circuit
          precedent, if a defendant’s treatment decision was
          “medically acceptable,” then the court need go no further:
          the plaintiff cannot show deliberate indifference as a matter
          of law. Jackson v. McIntosh, 90 F.3d 330, 332 (9th Cir.
          1996) (citing Estelle, 429 U.S. at 107–08).

              Deliberate indifference is a high bar, involving an
          “unnecessary and wanton infliction of pain” or conduct that
          is “repugnant to the conscience of mankind.” Estelle,
          429 U.S. at 104, 105–06 (citations omitted). An inadvertent
          failure to provide adequate medical care is neither, so it
          cannot support an Eighth Amendment claim. Id; see also
          Farmer, 511 U.S. at 835 (explaining that deliberate
          indifference requires “more than ordinary lack of due care
          for the prisoner’s interests or safety”) (citation omitted).

              A prison official acts with deliberate indifference only
          where he “knows of and disregards an excessive risk to
          inmate health or safety.” Farmer, 511 U.S. at 837 (emphasis
          added). As Justice Thomas describes it, this is the second-
          highest standard of subjective culpability under the Court’s
          Eighth Amendment jurisprudence—short only of “malicious
          and sadistic action for the very purpose of causing harm.”
          Id. at 861 (Thomas, J., concurring) (internal quotation marks
          and citations omitted).      Such a stringent culpability
          requirement “follows from the principle that ‘only the
          unnecessary and wanton infliction of pain implicates the
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          Eighth Amendment.’” Id. at 834 (quoting Wilson, 501 U.S.
          at 294).

              Our precedent has consistently emphasized the
          challenging threshold for showing deliberate indifference. 6
          Rightfully so, too. In the 44 years since Estelle, an unbroken
          line of Supreme Court cases reaffirmed that mere
          negligence, inadvertence, or good-faith error cannot
          establish an Eighth Amendment claim. 7

                                              B.

              The panel’s decision here dilutes the otherwise stringent
          deliberate indifference standard. The panel begins by
          finding Edmo’s gender dysphoria to be a “serious medical
               6
                 See Hamby v. Hammond, 821 F.3d 1085, 1092 (9th Cir. 2016)
          (explaining that “[a] difference of opinion between a physician and the
          prisoner—or between medical professionals—concerning what medical
          care is appropriate does not amount to deliberate indifference,” and
          reiterating the “high legal standard” for showing an Eighth Amendment
          violation) (citations omitted); Toguchi v. Chung, 391 F.3d 1051, 1060
          (9th Cir. 2004); Hallett v. Morgan, 296 F.3d 732, 745 (9th Cir. 2002);
          Wood v. Housewright, 900 F.2d 1332, 1334 (9th Cir. 1990).
               7
                 See Minneci v. Pollard, 565 U.S. 118, 130 (2012) (noting that “to
          show an Eighth Amendment violation a prisoner must typically show
          that a defendant acted, not just negligently, but with ‘deliberate
          indifference’”) (citing Farmer, 511 U.S. at 825, 834); Ortiz v. Jordan,
          562 U.S. 180, 190 (2011) (restating Farmer’s articulation of the
          deliberate indifference standard); Wilson, 501 U.S. at 297
          (“[A]llegations of ‘inadvertent failure to provide adequate medical care,’
          or of a ‘negligent . . . diagnosis,’ simply fail to establish the requisite
          culpable state of mind.”) (internal citations and alterations omitted);
          Whitley, 475 U.S. at 319 (“To be cruel and unusual punishment, conduct
          that does not purport to be punishment at all must involve more than
          ordinary lack of due care . . . . It is obduracy and wantonness, not
          inadvertence or error in good faith, that characterize the conduct
          prohibited by the Cruel and Unusual Punishments Clause[.]”).
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          need.” Edmo, 935 F.3d at 785. It then determines, based
          solely on the WPATH standards, that Dr. Eliason’s failure to
          recommend SRS was medically unacceptable. Id. at 786–
          92. From there, the panel leaps to conclude that Dr Eliason
          was “deliberately indifferent” precisely because it viewed
          his treatment as “ineffective” and “medically unacceptable”
          under the panel’s reading of the WPATH standards. Id.
          at 793. Thus, under the panel’s approach, compliance with
          the court-preferred medical standards (in this case, the
          WPATH standards) is the beginning and the end of the
          inquiry. This is not the deliberate indifference inquiry
          required by precedent.

              As an initial matter, and as Judge O’Scannlain aptly
          points out, the panel errs in holding up one medically
          accepted standard, i.e., the WPATH guidelines, as the
          constitutional “gold standard,” thereby precluding any
          further debate on the matter. See supra O’Scannlain, J.,
          dissenting at 15–22. As discussed above, the WPATH
          standards do not establish a definitive medical consensus and
          judges applying Eighth Amendment standards should not
          and need not take sides in this debate.

              More fundamentally though, the panel’s analysis
          effectively erases the subjective deliberate indifference
          requirement with its circular reasoning. Nowhere does the
          panel consider any direct evidence of Dr. Eliason’s
          subjective mental state. Cf. Jett v. Penner, 439 F.3d 1091,
          1098 & n.2 (9th Cir. 2006) (concluding that a doctor’s
          medical note stating “I reviewed xrays which showed no
          obvious fracture malalignment,” written after reviewing a
          radiology report which specifically indicated a deformity,
          could evidence deliberate indifference) (alteration in
          original). Nor does the panel consider the many reasons
          underlying Dr. Eliason’s decision to decline SRS treatment.
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          See supra O’Scannlain, J., dissenting at 15–22. Once those
          reasons are swept aside, the panel circularly infers deliberate
          indifference based on its prior determination that
          Dr. Eliason’s treatment plan was “ineffective” or “medically
          unacceptable” under the WPATH standards. See Edmo,
          935 F.3d at 793–94 (finding Dr. Eliason deliberately
          indifferent because his treatment “stopped short of what was
          medically necessary”).

              Such an approach is particularly troublesome because, if
          replicated, deliberate indifference could be inferred solely
          from a finding of a “medically unacceptable” treatment. For
          Eighth Amendment claims like Edmo’s, a plaintiff must first
          show the “medically unacceptable” treatment of a “serious
          medical need[]” and, second, that the doctor’s treatment
          decision reflected “deliberate indifference” to the medical
          need. Jackson, 90 F.3d at 332. The panel’s analysis
          collapses this two-part inquiry into one circular step. If
          courts follow the panel’s reasoning, in every case of
          medically     unacceptable      treatment,   courts   could
          automatically infer deliberate indifference.

              Worse still, because “medical acceptability” is an
          objective negligence inquiry, the ultimate effect of the
          panel’s analysis is to dilute the heightened, subjective
          culpability required for deliberate indifference, see Farmer,
          511 U.S. at 839–40, into mere negligence, which the
          Supreme Court has repeatedly warned falls short of an
          Eighth Amendment violation. See, e.g., Estelle, 429 U.S.
          at 105–06. By denying rehearing en banc in this case, we
          relegate federal judges to the role of referee in medical
          disputes. This is not what the Constitution or precedent
          envisions.
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              The Eighth Amendment’s history and text entreat us to
          hold the line on the heightened standards for a constitutional
          deprivation found in our precedent. As Justice Thomas
          rightly observed, “[t]he Eighth Amendment is not, and
          should not be turned into, a National Code of Prison
          Regulation.” Hudson, 503 U.S. at 28 (Thomas, J.,
          dissenting). By judicially mandating an innovative and
          evolving standard of care, the panel effectively
          constitutionalizes a set of guidelines subject to ongoing
          debate and inaugurates yet another circuit split. And by
          diluting the requisite state of mind from “deliberate
          indifference” to negligence, the panel effectively holds
          that—contrary to Supreme Court precedent—“[m]edical
          malpractice [does] become a constitutional violation merely
          because the victim is a prisoner.” Estelle, 429 U.S. at 106
          (altered). I respectfully dissent from the denial of rehearing
          en banc.
